     Case 18-50100            Doc 48       Filed 07/02/18         EOD 07/02/18 17:56:38               Pg 1 of 7




                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

IN RE:                                  )
                                       )
ITT EDUCATIONAL SERVICES, INC., et al.1 )                            Case No. 16-07207-JMC-7A
                                       )
                       Debtors.         )                            Jointly Administered
______________________________________ )
                                       )
DEBORAH J. CARUSO, the CHAPTER 7        )
TRUSTEE for ITT EDUCATIONAL             )
SERVICES, INC., ESI SERVICE CORP. and )
DANIEL WEBSTER COLLEGE, INC.,           )
                                       )
                       Plaintiff,       )                            Adversary Proceeding No. 18-50100
     vs.                                )
                                       )
KEVIN MODANY, JOHN E. DEAN,             )
C. DAVID BROWN II, JOANNA T. LAU,       )
THOMAS I. MORGAN, JOHN VINCENT          )
WEBER, JOHN F. COZZI, SAMUEL L.         )
ODLE, and JERRY M. COHEN,               )
                                       )
                       Defendants.      )


NOTICE OF INITIAL EXTENSION OF TIME TO RESPOND TO COMPLAINT AND JOINT
      MOTION TO FURTHER EXTEND TIME TO RESPOND TO COMPLAINT

         Come now Kevin Modany (“Modany”), and Deborah J. Caruso, Chapter 7 Trustee (the

“Trustee”) by counsel, and request an extension of time, exceeding 28 days, to submit a response to the

Summons & Complaint in the above captioned Adversary Proceeding.

Initial Extension of Time

    1. On June 4, 2018, counsel for the Trustee served counsel for Modany with a copy of the

         Complaint initiating this Adversary Proceeding along with a Summons.

    2. The original due date for Modany’s response to the Complaint was July 2, 2018.

1
 The debtors in these cases, along with the last four digits of their respective federal tax identification numbers are
ITT Educational Services, Inc. [1311]; ESI Service Corp. [2117]; and Daniel Webster College, Inc. [5980].

I\13273626.1
     Case 18-50100       Doc 48     Filed 07/02/18    EOD 07/02/18 17:56:38         Pg 2 of 7



    3. Modany requested an initial twenty-eight (28) day extension of time within which to file a

        response to the Complaint, up to and including July 31, 2018.

    4. Counsel for the Trustee did not object to the requested extension.

    5. The due date for the Modany’s response to the Complaint is currently extended to and includes

        July 31, 2018.

Request for Additional Time

    6. On June 28, 2018, counsel for Modany contacted Counsel for Plaintiff, requesting a second

        extension of time beyond July 31, 2018, to accommodate Modany’s attendance at the jury trial

        in the District Court for the Southern District of Indiana, Case No. 1:15-cv-00758-JMS-MJD,

        United States Securities and Exchange Commission v. Kevin M. Modany, Daniel M.

        Fitzpatrick, currently scheduled to commence July 9, 2018, and expected to take 15 days.

    7. Counsel for Plaintiff does not object to an additional period of time, up to, and including

        August 24, 2018 for Modany to respond to the Complaint.

WHEREFORE, Modany and the Trustee respectfully request that the Court enter an order

(substantially in the form of Exhibit A) extending the deadline for Modany’s response to the

Complaint to August 24, 2018.




I\13273626.1
     Case 18-50100       Doc 48   Filed 07/02/18   EOD 07/02/18 17:56:38      Pg 3 of 7



Dated: July 2, 2018

                                       Respectfully submitted,

ICE MILLER LLP                                RUBIN & LEVIN, P.C.

/s/ Philip A. Whistler                        /s/ Carly A. Kessler

Philip A. Whistler                            Thomas F. Berndt
Thomas Mixdorf                                Carly A. Kessler
One American Square                           399 Park Avenue
Indianapolis, Indiana 46282                   Suite 3600
Telephone: (317) 236-2349                     New York, New York 10022
Email: philip.whistler@icemiller.com          Telephone: (212) 980-7400
Email: thomas.mixdorf@icemiller.com           Email: tberndt@robinskaplan.com
                                                     ckessler@robinskaplan.com
Local Counsel to Kevin M. Modany

MORGAN, LEWIS & BOCKIUS LLP                   RUBIN & LEVIN, P.C.

John C. Goodchild, III                        Meredith R. Theisen
Rachel Jaffe Mauceri                          135 N. Pennsylvania Street, Suite 1400
1701 Market Street                            Indianapolis, Indiana 46204
Philadelphia, Pennsylvania 19103              Telephone: (317) 634-0300
Telephone: (215) 963-5000                     Email: mtheisen@rubin-levin.net
Facsimile: (215) 963-5001
Email: john.goodchild@morganlewis.com         Counsel to Deborah J. Caruso, Chapter 7
      rachel.mauceri@morganlewis.com          Trustee

Elaine V. Fenna
101 Park Avenue
New York, New York 10178
Telephone: (212) 309-6000
Facsimile: (212) 309-6001
Email: elaine.fenna@morganlewis.com

Counsel to Kevin M. Modany




I\13273626.1
     Case 18-50100       Doc 48     Filed 07/02/18      EOD 07/02/18 17:56:38         Pg 4 of 7



                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 2nd day of July, 2018, a copy of the foregoing was filed

electronically. Notice of this filing will be sent to the following parties through the Court's

Electronic Case Filing System. Parties may access this filing through the Court's system.

          Richard Allyn                                 Carly Kessler
          rallyn@robinskaplan.com                       ckessler@robinskaplan.com

          Thomas Berndt                                 Ronald James Schutz
          tberndt@robinskaplan.com                      rschutz@robinskaplan.com
          jgerboth@robinskaplan.com
                                                        U.S. Trustee
          Michael Anthony Collyard                      ustpregion10.in.ecf@usdoj.gov
          mcollyard@robinskaplan.com
          rhoule@robinskaplan.com

          John C. Hoard
          johnh@rubin-levin.net
          jkrichbaum@rubin-levin.net
          atty jch@trustesolutions.com




                                                                            /s/Philip A. Whistler




I\13273626.1
     Case 18-50100   Doc 48   Filed 07/02/18   EOD 07/02/18 17:56:38   Pg 5 of 7




                                  EXHIBIT A




I\13273626.1
     Case 18-50100            Doc 48       Filed 07/02/18         EOD 07/02/18 17:56:38               Pg 6 of 7




                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

IN RE:                                  )
                                       )
ITT EDUCATIONAL SERVICES, INC., et al.2 )                            Case No. 16-07207-JMC-7A
                                       )
                       Debtors.         )                            Jointly Administered
______________________________________ )
                                       )
DEBORAH J. CARUSO, the CHAPTER 7        )
TRUSTEE for ITT EDUCATIONAL             )
SERVICES, INC., ESI SERVICE CORP. and )
DANIEL WEBSTER COLLEGE, INC.,           )
                                       )
                       Plaintiff,       )                            Adversary Proceeding No. 18-50100
     vs.                                )
                                       )
KEVIN MODANY, JOHN E. DEAN,             )
C. DAVID BROWN II, JOANNA T. LAU,       )
THOMAS I. MORGAN, JOHN VINCENT          )
WEBER, JOHN F. COZZI, SAMUEL L.         )
ODLE, and JERRY M. COHEN,               )
                                       )
                       Defendants.      )

                        ORDER GRANTING JOINT MOTION TO
                  FURTHER EXTEND TIME TO RESPOND TO COMPLAINT

         This matter having come before the Court on the Joint Motion to Further Extend Time to

Respond to Complaint (“Motion”) filed on behalf of Defendant Kevin Modany and the Chapter 7



2
 The debtors in these cases, along with the last four digits of their respective federal tax identification numbers are
ITT Educational Services, Inc. [1311]; ESI Service Corp. [2117]; and Daniel Webster College, Inc. [5980].

I\13273626.1
     Case 18-50100     Doc 48     Filed 07/02/18        EOD 07/02/18 17:56:38   Pg 7 of 7



Trustee, having reviewed the Motion and being in all matters duly advised, the Court now

GRANTS said Motion and ORDERS that the deadline for Defendant Kevin Modany to respond

to the Complaint in the above-captioned Adversary Proceeding is extended to August 24, 2018.



                                           ----//----




I\13273626.1
